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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

UNITED STATES OF AMERICA,                           §
                                                    §
                   Petitioner,                      §
                                                    §
v.                                                  §   CRIMINAL NO. W-6:16-CR-18
                                                    §
                                                    §
DEANGELO CORTEZ SWINDLE,                            §
                                                    §
                   Respondent.                      §

                                            ORDER

       Before the Court is the Movant United States’ § 2244 Motion to Dismiss prisoner Deangelo

Cortez Swindle’s second or successive habeas corpus application, filed on July 9, 2020. ECF No.

134. Swindle responded on July 17, 2020. ECF No. 135. For the following reasons, the

government’s § 2244 Motion is DENIED.

                                    Procedural Background

       On October 10, 2018, Swindle filed a § 2255 Motion to vacate his sentence, alleging

ineffective assistance of counsel. ECF No. 119. On August 7, 2019, this Court denied Swindle’s

motion. ECF No. 124. Months later, on February 4, 2020, this Court found that Swindle’s

trafficking offense constituted a “sex offense” under the Sex Offender Registration and

Notification Act (SORNA). ECF No. 135 at 4. This new designation imposed upon Swindle a

federal duty to register on top of his preexisting state duty to register; upon release, Swindle is

obligated to register as a sex offender in any state to which he travels. Id. Following the

reconstitution of his offense, Swindle filed a second § 2255 Motion on May 18, 2020. ECF No.

130.




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                                            Discussion

       The government urges this Court to dismiss Swindle’s § 2255 motion pursuant to 28

U.S.C. § 2244. Section 2244 states, “[b]efore a second or successive [§ 2255 motion] is filed in

the district court, the applicant shall move in the appropriate court of appeals for an order

authorizing the district court to consider the application.” According to the government, because

Swindle made no such motion with the Fifth Circuit Court of Appeals, his second § 2255 motion

in May 2020 constitutes a “second or successive” habeas application and must be denied for lack

of jurisdiction. However, Swindle’s second § 2255 motion is not a second or successive habeas

application within the meaning of § 2244.

       After a court issues a new judgment, a § 2255 motion challenging that new judgment is

not a second or successive habeas application. In re Lampton, 667 F.3d 885, 888 (5th Cir. 2012).

A partial resentencing that results in the imposition new of post-release obligations constitutes a

new judgment because it alters the prisoner’s sentence. In re Stansell, 828 F.3d 412, 419 (6th

Cir. 2016). Thus, the redesignation of Swindle’s offense in February 2020 is a new judgment,

which means that Swindle’s § 2255 Motion in May 2020 is not a second or successive habeas

application under § 2244. Thus, the government’s Motion to Dismiss under § 2244 is DENIED.

                                            Conclusion

       For the foregoing reasons, the government’s Motion to Dismiss is DENIED.

       Accordingly,

       IT IS ORDERED that Movant United States’ Motion to Dismiss under 28 U.S.C. § 2244

(ECF No. 134) is DENIED.

       IT IS FURTHER ORDERED that the government shall issue a response to Swindle’s §

2255 Motion (ECF No. 130) on or by June 8, 2021.



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It is so ORDERED.

SIGNED this 25th day of May, 2021.




                          ALAN D ALBRIGHT
                          UNITED STATES DISTRICT JUDGE




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